                                               UNITED STATES BANKRUPTCY COURT
                                                 EASTERN DISTRICT OF MICHIGAN
                                                      SOUTHERN DIVISION

IN RE:            Colette Shell
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Christopher M. Carey (P51527)
Dario Ianni (P67517)                                                                           Chapter 13
CAREY LAW GROUP, PC                                                                            Case No. 21-42094-G
Attorneys for Debtor(s)                                                                        Judge Gretchko
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        OBJECTION TO PROOF OF CLAIM NUMBER 14 FILED BY MICHIGAN DEPARTMENT OF TREASURY

Debtor through counsel, the Carey Law Group, PC, states as follows in support of this objection:

1.          This case was filed on March 12, 2021.

2.          The plan herein was confirmed on May 26, 2021.

3.          Creditor, Michigan Department of Treasury, filed a Proof of Claim that overstates the debtor’s Priority liability.
            Debtor filed her 2020 State of Michigan Income Tax Return and had a liability that was only $610. The State’s
            claim anticipates a liability of $5,000 for the 2020 tax year.

W HEREFORE, Debtor objects to the Proof of Claim filed by                 Michigan Department of Treasury..

Date: September 28, 2021


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          _ _h_ri_s_to_p_h_e_r_M
                               __._C_a_r_e_y_(_P_5_1_5_2_7_)___________
Attorney for Debtor
23930 Michigan Ave
Dearborn, MI 48124
ecf@careylawgroup.net
(313) 274-2999




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                                   UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF MICHIGAN
                                          SOUTHERN DIVISION

IN RE:            Colette Shell
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Christopher M. Carey (P51527)
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CAREY LAW GROUP, PC                                                                     Case No. 21-42094-G
Attorneys for Debtor(s)                                                                 Judge Gretchko
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          ORDER ADJUSTING CLAIM NUMBER 14 FILED BY MICHIGAN DEPARTMENT OF TREASURY

An objection having been filed pursuant to LBR 3007-1; and all necessary parties having been given adequate notice thereto
and adequate notice to respond or object; and no party having otherwise responded or objected; NOW THEREFORE,

IT IS HEREBY ORDERED the claim of        Michigan Department of Treasury is adjusted as follows:

I.       Michigan Department of Treasury shall have a Priority Unsecured Claim in the amount of $5,269.10, and,

II.      Michigan Department of Treasury shall have a General Unsecured Claim in the amount of $1,070.00.




                                                        EXHIBIT "A"




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                                                      UNITED STATES BANKRUPTCY COURT
                                                        EASTERN DISTRICT OF MICHIGAN
                                                             SOUTHERN DIVISION

 IN RE: Colette Shell
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 Christopher M. Carey (P51527)                                                                        Chapter 13
 CAREY LAW GROUP, PC                                                                                  Case No. 21-42094-G
 Attorneys for Debtor(s)                                                                              Judge Gretchko
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         NOTICE OF OBJECTION TO PROOF OF CLAIM NUMBER 14 FILED BY MICHIGAN DEPARTM ENT OF
                                             TREASURY

 Debtor has filed with the court an objection to your claim.

         Your claim may be reduced, modified or denied. You should read these papers carefully and discuss them
 with your attorney, if you have one in this bankruptcy case. (if you do not have an attorney, you may wish to consult
 one.)

             If you do not want the court to deny or change your claim, then on or before November 2, 2021, you or your attorney
 must:

 1.          File with the court a written response to the objection, explaining your position at:1

                         United States Bankruptcy Court
                         211 W . Fort Street, Suite 2100
                         Detroit, MI 48226

 If you mail your response to the court for filing, you must mail it early enough so the court will receive it on or before the
 date stated above.

 You must also mail a copy to:

                       The Carey Law Group, P.C.                            Krispen S Carroll
                       23930 M ichigan Avenue                               Chapter 13 Standing Trustee
                       Dearborn MI 48124                                    719 Griswold St
                                                                            1100 Dime Bldg
                                                                            Detroit MI 48226

2.         Attend the hearing on the objection, scheduled to be held on November 9, 2021, at 12:00 p.m. in the courtroom of
           Judge Gretchko, United States Bankruptcy Court, 211 W . Fort St, Detroit, Michigan, unless your attendance is
           excused by mutual agreement between yourself and the objector's attorney. (Unless the matter is disposed of
           summarily as a matter of law, the hearing shall be a pre-trial conference only; neither testimony nor other evidence
           will be received. A pre-trial scheduling order may be issued as a result of the pre-trial conference.)

          If you or your attorney do not take these steps, the Court may deem that you do not oppose the objection to your
claim, in which event the hearing will be canceled, and the objection sustained.

Date: September 28, 2021

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          _ _h_ri_s_to_p_h_e_r_M
                               __. _C_a_r_e_y_(_P_5_1_5_2_7_)____________
Attorney for Debtor
23930 Michigan Avenue
Dearborn MI 48124
Telephone: (313)274-2999
email: ecf@careylawgroup.net



            1
            Response or answer must comply with F.R.Civ. P. 8(b), (c) and (e)
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                                                    UNITED STATES BANKRUPTCY COURT
                                                      EASTERN DISTRICT OF MICHIGAN
                                                           SOUTHERN DIVISION

IN RE: Colette Shell
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Christopher M. Carey (P51527)                                                                 Chapter 13
CAREY LAW GROUP, PC                                                                           Case No. 21-42094-G
Attorneys for Debtor(s)                                                                       Judge Gretchko
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                                                                    PROOF OF SERVICE

I hereby certify under penalty of perjury that on September 28, 2021, I served a copy of the following documents:


OBJECTION TO PROOF OF CLAIM OF STATE OF MICHIGAN
(Proposed) ORDER ADJUSTING CLAIM NUMBER 14 FILED BY MICHIGAN DEPARTMENT OF TREASURY
NOTICE OF OBJECTION TO PROOF OF CLAIM OF STATE OF MICHIGAN

Upon the attached address matrix in this case, as well as upon:

Krispen S Carroll
Chapter 13 Standing Trustee
719 Griswold St
1100 Dime Bldg
Detroit MI 48226

Michigan Department of Treasury
Bankruptcy Unit
P.O. Box 30168
Lansing, MI 48909

all by first class mail.

Date: September 28, 2021

____/_s/_ C
          _ _h_ri_s_to_p_h_e_r_M
                               __._C_a_r_e_y_(_P_5_1_5_2_7_)_____________
Attorney for Debtor
23930 Michigan Avenue
Dearborn MI 48124
Telephone: (313)274-2999
email: ecf@careylawgroup.net




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